
580 So.2d 619 (1991)
STATE of Florida; Bob Martinez, Governor of the State of Florida; and Florida Department of Administration, Appellants,
v.
FLORIDA POLICE BENEVOLENT ASSOCIATION, INC.; Florida Nurses Association; and Florida Public Employees Council 79, Afscme, Appellees.
No. 90-1236.
District Court of Appeal of Florida, First District.
January 25, 1991.
Rehearing Denied March 29, 1991.
*620 Robert A. Butterworth, Atty. Gen., and Kimberly J. Tucker, Sp. Asst. Atty. Gen., Tallahassee, for appellants.
Gene "Hal" Johnson and Donald D. Slesnick, II, Tallahassee, for appellees.
PER CURIAM.
This appeal challenges the lower court's summary judgment finding that Section 9.3.A(5) of the 1988 General Appropriations Act for the State of Florida is unconstitutional as a violation of the right to collectively bargain afforded by Article I, Section 6 of the Florida Constitution. We affirm.
The provisions of section 9.3.A(5) uncontrovertedly undertake to alter or modify the annual and sick leave benefits to which career service employees are entitled. It is also uncontroverted that these benefits are conditions of employment subject to collective bargaining by the public employer and the certified bargaining agents for the represented public employee. No separation of powers concern precludes the judicial branch from addressing the constitutionality of the acts of the other branches. Holley v. Adams, 238 So.2d 401 (Fla. 1970). The constitutionality of the legislature's acts via its appropriations power are subject to review by the courts as is any other legislative act. See: Murray v. Lewis, 576 So.2d 264 (Fla. 1990); Department of Education v. Lewis, 416 So.2d 455 (Fla. 1982). The other arguments raised by appellants are without merit.
AFFIRMED.
SMITH, BARFIELD and WOLF, JJ., concur.
